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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF    AMERICA,      )              CASE NO. 8:02CR164
                                              )
             Plaintiff,                       )
                                              )
             vs.                              )
                                              )                    ORDER
YAMIL RIVERA-KADER,                           )
                                              )
             Defendant.                       )

      This matter is before the Court on the motion to withdraw (Filing No. 477) filed by

defense counsel James Martin Davis.

      In light of the entry of appearance filed by Carlos Monzon (Filing No. 479), the

motion is moot.

      IT IS ORDERED that the motion to withdraw (Filing No. 477) filed by defense

counsel James Martin Davis is denied as moot.

      DATED this 30th day of March, 2006.

                                                  BY THE COURT:

                                                  S/ Laurie Smith Camp
                                                  United States District Judge
